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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF GEORGIA
                                  AUGUSTA DIVISION




UNITED STATES OF AMERICA                     *
                                             *


       V.                                    *        CR 114-064
                                             ★


ALBERT      FRANKLIN   TEMPLES III




                                     ORDER




       Defendant Albert Franklin Temples III has filed a motion for

''compassionate        release" under       18   U.S.C. § 3582(c)(1)(A).              The

Government opposes the motion.              Upon due consideration, the Court

denies Defendant's request for relief.

       The     compassionate       release       provision       of     18   U.S.C.    §

3582(c)(1)(A) provides a narrow path for a district court to reduce

the    sentence    of     a    criminal    defendant       in    "extraordinary       and

compelling circumstances" if such reduction is "consistent with

applicable       policy       statements    issued    by    the       [United   States]

Sentencing Commission."           18 U.S.C. § 3582(c)(1)(A).            Section 131.13

of    the    Sentencing       Guidelines    provides       the    applicable     policy

statement, explaining that a               sentence   reduction        may be ordered

where a court determines, upon consideration of the factors set

forth in 18 U.S.C. § 3553(a), that "extraordinary and compelling

reasons" exist and the defendant does not present a danger to the

safety of any other person or the community.                     U.S.S.G. § 181.13.

The application note to this policy statement lists three specific
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examples     of   extraordinary       and    compelling      reasons     to   consider

reduction of a defendant's sentence under § 3582(c)(1)(A): (1) a

medical condition; (2) advanced age; and (3) family circumstances.

Id.    n.1(A)-(C).          A   fourth    catch-all     category    provides:          "As

determined by the Director of the Bureau of Prisons, there exists

in the defendant's case an extraordinary and compelling reason

other    than,    or   in   combination      with," the      aforementioned       three

categories.       Id. n.l(D) (emphasis added).

        Defendant's motion for compassionate release implicates only

the "medical condition" category.               To qualify, an inmate's medical

condition must be "serious and advanced . . . with an end of life


trajectory," U.S.S.G. § 1B1.13, app.                  note   1(a)(i), or        must    be

serious enough that it "substantially diminish[es] the ability of

the   [inmate] to provide          self-care     within      the environment of a

correctional facility and from which he or she is not expected to

recover," id., app. note 1(a)(ii).               Here, Defendant contends that

his family history of severe heart disease puts him at a heightened

risk for adverse effects should he contract COVID-19.


       The Court has considered Defendant's claim in light of the

Centers    for    Disease       Control   and   Prevention's     ("CDC")      list      of

significant risk factors.            Family history is not listed as a risk

factor.                     See Centers for Disease Control & Prevention,

People with Certain Medical               Conditions,     available at https://ww

w.cdc.gov/coronavirus72019-ncov/need-extra-precautions/people-with-

medical-conditions.html           (last     visited     on     October    15,    2020).
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Defendant bears the          burden   of demonstrating         that compassionate

release      is   warranted.    Cf.   United   States     v.   Hamilton,   715   F.3d

328, 337 (11*^^ Cir. 2013) (in the context of a motion to reduce

under § 3582(c)(2)).           He has not done so.        His concern about the

pandemic as it relates to his medical conditions is at this point

too speculative to qualify as extraordinary and compelling.

        Even if a defendant demonstrates extraordinary and compelling

reasons for compassionate release, the Court must still consider

the sentencing factors of 18 U.S.C. § 3553(a).                    See 18 U.S.C. §

3582(c) (1) (A).      These considerations do not support early release.

Defendant's        offense     and    criminal    history       are   significant.

Additionally, Defendant still has four and a half years left on

his sentence of 156 months.           Early release of this Defendant would

fail to reflect the seriousness of his offense, promote respect

for    the    law,    provide    just    punishment,      and    afford    adequate

deterrence.


        Upon the foregoing, Defendant Albert Franklin Temples Ill's

motion for compassionate release (doc. 31) is DENIED.

       ORDER ENTERED at Augusta, Georgia, this /^'^day of October,
2020.




                                               J. RANpAL HALL,/CHIEF JUDGE
                                               UNITEiy STATE'S DISTRICT COURT
                                               SOUXHCRN    DISTRICT OF GEORGIA
